                                                              Filed: March 24, 2025


                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT
                     ________________________________

                      BRIEFING ORDER - CIVIL/AGENCY
                      _________________________________

No. 25-1282,            American Federation of Teachers v. Scott Bessent
                        8:25-cv-00430-DLB

Briefing shall proceed on the following schedule:


JOINT APPENDIX due: 05/05/2025

BRIEF [Opening] due: 05/05/2025

BRIEF [Response] due: 06/04/2025

BRIEF [Reply] (if any) due: Within 21 days of service of response brief.


The following rules apply under this schedule:

   •   Filings must conform to the Fourth Circuit Brief & Appendix
       Requirements as to content, format, and copies. The Requirements are
       available as a link from this order and at www.ca4.uscourts.gov. FRAP 28,
       30 & 32. NOTE: The Court’s preferred typefaces are Times New
       Roman, Century Schoolbook, and Georgia. The Court discourages the
       use of Garamond.
   •   The joint appendix must be paginated using Bates page numbering and the
       JA or J.A. format required by the Fourth Circuit Appendix Pagination &
       Brief Citation Guide. Appendix citations in the parties' briefs must use the
       same format. Local Rules 28(g) & 30(b)(4).
   •   All parties to a side must join in a single brief, even in consolidated cases,
       unless the court has granted a motion for leave to file separate briefs. Local
       Rules 28(a) & 28(d).
   •   Motions for extension of time should be filed only in extraordinary
    circumstances upon a showing of good cause. Local Rule 31(c).
•   If a brief is filed in advance of its due date, the filer may request a
    corresponding advancement of the due date for the next brief by filing a
    motion to amend the briefing schedule.
•   If a brief is filed after its due date, the time for filing subsequent briefs will
    be extended by the number of days the brief was late.
•   Failure to file an opening brief within the scheduled time may lead to
    dismissal of the case and imposition of sanctions against counsel. Local
    Rules 45 & 46(g).
•   Failure to file a response brief may result in loss of the right to be heard at
    argument. FRAP 31(c).
•   If a case has not been scheduled for a mediation conference, but counsel
    believes such a conference would be beneficial, counsel should contact the
    Office of the Circuit Mediator directly at 843-731-9099, and a mediation
    conference will be scheduled. In such a case, the reason for scheduling the
    conference will be kept confidential. Local Rule 33.
•   The court may, on its own initiative and without prior notice, screen an
    appeal for decision on the parties' briefs without oral argument. Local Rule
    34(a).
•   If a case is to be scheduled for argument, counsel will receive prior notice
    from the court.

                                /s/ NWAMAKA ANOWI, CLERK
                                By: Rachel Phillips, Deputy Clerk
